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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Holt Healthcare Management Services, Inc.
                                                 Plaintiff,
v.                                                             Case No.: 1:14−cv−05715
                                                               Honorable James B. Zagel
Syncom Pharmaceuticals, Inc., et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 28, 2015:


        MINUTE entry before the Honorable James B. Zagel: Pursuant to the parties'
Notice of Dismissal [21], this matter is dismissed with prejudice with respect to Plaintiff's
individual claims against Defendant and dismissed without prejudice with respect to
Plaintiff's class claims. Each party shall bear their own costs. Status hearing set for
6/11/15 is stricken. Civil case terminated. Mailed notice(ep, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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